Case 1:07-cr-00711-JG   Document 60   Filed 09/04/08   Page 1 of 6 PageID #: 322




                                      s/John Gleeson
Case 1:07-cr-00711-JG   Document 60   Filed 09/04/08   Page 2 of 6 PageID #: 323
Case 1:07-cr-00711-JG   Document 60   Filed 09/04/08   Page 3 of 6 PageID #: 324
Case 1:07-cr-00711-JG   Document 60   Filed 09/04/08   Page 4 of 6 PageID #: 325
Case 1:07-cr-00711-JG   Document 60   Filed 09/04/08   Page 5 of 6 PageID #: 326
Case 1:07-cr-00711-JG   Document 60   Filed 09/04/08   Page 6 of 6 PageID #: 327
